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                       IN THE UNITED STATED DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §                Case No: 2:16-cv-00450-JRG
                                    §
      vs.                           §                LEAD CASE
                                    §
CITIBANK NA                         §
                                    §
      Defendant.                    §
___________________________________ §
SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §                Case No: 2:16-cv-00447-JRG
                                    §
      vs.                           §                CONSOLIDATED CASE
                                    §
HSBC BANK USA, NATIONAL             §
ASSOCIATION                         §
                                    §
      Defendant.                    §
___________________________________ §
    .
                        ORDER OF DISMISSAL WITH PREJUDICE

        On this date, the Court considered Plaintiff Symbology Innovations, LLC’s motion to

dismiss with prejudice Defendant HSBC Bank USA, National Association pursuant to Fed. R. Civ.

P. 41(a) (Dkt. No. 139).

        Therefore, IT IS ORDERED that Plaintiff’s claims against Defendant are dismissed with

prejudice and with each party to bear its own attorneys’ fees and costs.

         SIGNED this 19th day of December, 2011.
        So ORDERED and SIGNED this 16th day of December, 2016.




                                                          ____________________________________
                                                          RODNEY GILSTRAP
                                                          UNITED STATES DISTRICT JUDGE
